                   Case 1:22-cv-01001-CKK Document 25 Filed 10/05/22 Page 1 of 1

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. l:22-cv-01001 -CKK

                                                          PROOF OF SERVICE
                          (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (I))

        This summons for (name of individual and title,     ifany) Jeffery Brown was received by me on (date) Sep 22, 2022, 5:51 pm.

        [!]      I personally served the summons on the individual at (place) 4400 Massachusetts Ave NW 4 Fl, Washington, DC
                 20016 on (date) Fri, Sep 23 2022; or
        D        I left the summons at the individual's residence or usual place of abode with (name)
                 person of suitable age and discretion who resides there, on (date)
                                                                                                         ---------            ,a
                                                                                                           , and mailed a copy to
                 the individual's last known address; or
        D        I served the summons on (name ofindividual) _________ , who is designated by law to accept service
                 of process on behalf of (name oforgani=atlon)          on (date) _________; or
        D        I returned the summons unexecuted because:      ---------; or
        D        Other:   ---------; or
        My fees are$      --------- for travel and$ --------- for services, for a total of$
        I declare under penalty of perjury that this information is true.


Date: 9-30-2022


                                                                                             Server's signature
                                                                   Raphael Trice
                                                                                           Printed name and title

                                                                    1133 13th St NW Ste C4, Washington, DC 20005
                                                                                              Server's address

Additional information regarding attempted service, etc.:
I) Successful Attempt: Sep 23, 2022, 4: 11 pm EDT at Jeffrey: 4400 Massachusetts Ave NW 4 FI, Washington, DC 20016 received
by Jeffery Brown . Age: Mid 40's; Ethnicity: Caucasian; Gender: Male; Weight: 220 Lbs.; Height: 6'2"; Hair: Black; Eyes: Black;
Other: With beard. ;

DOCUMENTS SERVED: Summons in a Civil Action; Civil Cover Sheet (ECF 1-1); Complaint (ECF 1); Amended Complaint
(ECF 6); Order Establishing Procedures for Cases Assigned to Judge Colleen Kollar-Kotelly (ECF 5).




                                                                                                      RECEIVED
                                                                                                            OCT 5 2022
                                                                                                         Clerk, U.S. District & Bankruptcy
                                                                                                         Court for the District of Columbia
